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 UNITED STATES DISTRICT COURT                                                                      7/16/2025 11:15 am
 EASTERN DISTRICT OF NEW YORK                                                                   U.S. DISTRICT COURT
 ----------------------------------------------------------------X                         EASTERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA,                                                                      LONG ISLAND OFFICE

           - against -                                                             MEMORANDUM &
                                                                                   ORDER
                                                                                   22-CR-429 (JMA)(AYS)
 VLADIMIR ANTONIO AREVALO-CHAVEZ
      also known as “Vampiro de Monserrat
      Criminales,” et al.,

                              Defendants.
 ----------------------------------------------------------------X
 AZRACK, United States District Judge:

           In two cases before the Court, the Government brought charges against 27 alleged leaders

 of MS-13. (Arevalo-Chavez Indictment, United States v. Arevalo Chavez, Case No. 22-CR-429,

 ECF No. 18; Henriquez Indictment, United States v. Henriquez, Case No. 20-CR-577, ECF No.

 1.1) Currently pending is a motion by the Government to dismiss the indictment against one of the

 defendants, Vladimir Antonio Arevalo-Chavez, without prejudice pursuant to Federal Rule of

 Criminal Procedure 48. (ECF No. 155.) All 13 defendants named in the Arevalo-Chavez

 Indictment are charged with conspiring to provide material support to terrorists and conspiring to

 commit Racketeering, Narco-Terrorism, and Alien Smuggling.

           Recently, on March 17, 2025, Francisco Javier Roman-Bardales—another defendant in this

 case—was arrested in Mexico and sent to the United States. Hailing the arrest, Attorney General

 Pam Bondi and the Department of Justice told the public that Roman-Bardales would be

 prosecuted “in a courtroom on Long Island where his transnational criminal organization has

 impacted so many communities” and that MS-13 members would face “swift American justice for




 1
     Unless otherwise noted, all record citations are to the Arevalo-Chavez docket, Case No. 22-cr-429.



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 their heinous crimes.”2

         Despite these public pronouncements, less than two weeks later, the Government filed a

 motion to dismiss the charges against Arevalo-Chavez. The Government filed the motion under

 seal and asked the Court to dismiss the charges against Arevalo-Chavez (and for him to be sent to

 El Salvador) before the public would have a chance to see the motion. Such a course would prove

 legally impermissible. The public has a right under the First Amendment to know about this

 motion unless the Government has identified an overriding compelling interest that warrants

 sealing. The Government failed to do so here. A desire to avoid public scrutiny of a decision to

 seek dismissal of criminal charges does not justify sealing. In this case, the Government appears

 to be making inconsistent representations and the public has a right to know about this motion

 before its resolution.

         The Court previously directed, in a brief order, that the filings for this motion to dismiss

 be unsealed and indicated that an opinion explaining its unsealing decision would be forthcoming.

 (ECF No. 176.) The Court’s reasoning is set out herein.

         For over three years, the U.S. Government’s attempts to extradite MS-13 leaders being

 held in El Salvador were rebuffed by the government of El Salvador. Not only did the government

 of El Salvador refuse to extradite these defendants, but, according to the U.S. Government, El

 Salvador actually released a number of these defendants from its custody. Recently, however, the

 U.S. Government has seemingly reversed course. After the government of El Salvador publicly

 requested, in February, that the alleged MS-13 leaders in U.S. custody be sent to El Salvador, the

 U.S. Government has now sought dismissal of charges against two defendants in order to remove


 2
    Press Release, U.S. Attorney’s Office, Eastern District of New York, High-Ranking MS-13 Leader Arraigned in
 Long Island Federal Court on Terrorism and Racketeering Charges After His Arrest in Mexico (Mar. 19, 2025) (“Mar.
 19 Press Release”), available at https://www.justice.gov/usao-edny/pr/high-ranking-ms-13-leader-arraigned-long-
 island-federal-court-terrorism-and; https://perma.cc/P5LE-T8E6.


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 them to El Salvador. This is occurring in the context of cases where, as detailed below, the

 indictments allege extraordinary relationships between MS-13 leaders and the Salvadoran

 government.

          The Government maintains that this Court must grant the Government’s motion to dismiss

 without prejudice. The Court does not address the merits of the Government’s motion to dismiss

 here. However, with respect to the discrete question of sealing, it would have been inappropriate—

 given the facts of this case, the purpose of Rule 48, and the public’s right to access judicial

 documents and proceedings—for this Court to unseal the motion only after it had been ruled on.

 Continued sealing was not warranted as this case involves issues of significant public interest and

 the reasons proffered by the Government were not sufficient to justify sealing here.

                                                 I. BACKGROUND

          MS-13, which began as a Central American street gang in Southern California in the 1980s,

 has grown into a transnational criminal organization with tens of thousands of members

 worldwide. (Arevalo Chavez Indictment ¶¶ 1–4; Henriquez Indictment ¶¶ 1–5.) According to the

 indictments, in addition to committing violence against civilians and government officials in El

 Salvador, MS-13’s leaders allegedly directed its large membership in the United States to engage

 in criminal activities such as drug trafficking, extortion, alien smuggling, and acts of violence,

 including murder.3 Both indictments also allege extraordinary and corrupt relationships between

 these MS-13 leaders and high-ranking officials of the Salvadoran Government.




 3
   All defendants are, of course, entitled to the presumption of innocence. In this opinion, which concerns the Court’s
 decision to unseal various filings, the Court references the allegations in these indictments, other court records, various
 public statements made by government officials, and press articles related to this case. This information is relevant to
 the Court’s determination to unseal certain filings. However, the indictment and other statements made by the
 Government are only allegations and each of the defendants is entitled to the presumption of innocence. To be
 convicted, the Government must prove, at trial, that a defendant is guilty beyond a reasonable doubt.



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            MS-13 has committed crimes across El Salvador, Mexico, and the United States, with

 countless victims within the jurisdiction of this Court. The U.S. Attorney’s Office for the Eastern

 District of New York has prosecuted hundreds of MS-13 leaders, members, and associates in

 connection with more than 80 killings in the Eastern District of New York since 2009. (Mar. 19

 Press Release.) These victims included rival gang members, innocent individuals incorrectly

 suspected of being rival gang members, and MS-13 members suspected of cooperating with law

 enforcement authorities. (20-CR-577, ECF No. 36 at 4.) According to the Government, a “full

 count of the number of deaths in the United States caused by MS-13 is, impossible, as victims of

 their violence include undocumented immigrants whose bodies have never been recovered.” (Id.)

 A. The Establishment of Joint Task Force Vulcan and the Henriquez Indictment

            “In 2017, the President directed the Department of Justice to go to war against MS-13.”

 (Press Release, Dep’t of Justice, The Department of Justice Announces Takedown of Key MS-13

 Criminal Leadership (July 15, 2020).4) In August 2019, the Trump Administration launched “Joint

 Task Force Vulcan (JTFV), an initiative . . . aimed at disrupting, dismantling, and ultimately,

 destroying MS-13.” Id. Commenting on Joint Task Force Vulcan in July 2020, President Trump

 stated that “[t]here’s never been any move like this before” and that “[m]y Administration will not

 rest until every member of MS-13 is brought to justice.” (The Terrorism Suspect Trump Sent Back

 to Bukele, THE NEW YORKER (Apr. 18, 2025) (“Apr. 18 New Yorker Article”).5) Joint Task Force

 Vulcan subsequently obtained both the indictments pending before this Court.

            In December 2020, a grand jury returned the Henriquez Indictment against 14 defendants,

 whom the indictment alleges to be members of the Ranfla Nacional, the “highest level of


 4
   Available at https://www.justice.gov/archives/opa/pr/department-justice-announces-takedown-key-ms-13-criminal-
 leadership; https://perma.cc/6EWC-SDW9
 5
     Available at https://www.newyorker.com/news/the-lede/the-terrorism-suspect-trump-sent-back-to-bukele


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 leadership in MS-13,” which “provided overall direction for the gang” and acted as the “equivalent

 of a ‘board of directors.’” (Henriquez Indictment ¶ 6.) Upon its unsealing on January 14, 2021,

 this indictment was hailed by the Department of Justice as the culmination of Attorney General

 Barr’s efforts “designed specifically to eliminate MS-13 leadership’s ability to operate the gang

 and direct its terrorist activity,” which were “consistent with President Trump’s Executive Order

 and the Attorney General’s whole of government approach.” (Press Release, U.S. Attorney's

 Office, Eastern District of New York, MS-13’s Highest-Ranking Leaders Charged with Terrorism

 Offenses in the United States (Jan. 14, 2021).6)

         Defendant Borromeo Enrique Henriquez is, according to the Government, “widely

 recognized as the most powerful member of the Ranfla Nacional.” (20-CR-577, ECF No. 19 at 1

 n.1.) Other defendants in the Henriquez case include Elmer Canales-Rivera, Fredy Ivan Jandres-

 Parada, and Cesar Humberto Lopez-Larios. (Henriquez Indictment.)

         The Henriquez Indictment charges the defendants with, among other things, conspiring to

 commit Narco-Terrorism and transnational terrorism. According to the indictment, the Ranfla

 Nacional authorized MS-13 members to commit murders in the United States. (Id. ¶ 47(e)-(g).)

 The indictment alleges, amongst numerous other criminal acts, that the Ranfla Nacional also

 ordered the murder of an FBI special agent assigned in El Salvador. (Id. ¶ 47(d).)

         The Henriquez indictment also explained that the Ranfla Nacional had gained political

 influence in El Salvador through the violence and intimidation that MS-13 exerted on El Salvador’s

 government and civilian population. According to the indictment, beginning in 2012, the Ranfla

 Nacional engaged in secret negotiations with the ruling party in El Salvador, the Farabundo Marti

 National Liberation Front (“FMLN”), as well as MS-13’s principal rival gang concerning a “truce”


 6
   Available at https://www.justice.gov/usao-edny/pr/ms-13-s-highest-ranking-leaders-charged-terrorism-offenses-
 united-states; https://perma.cc/S3TE-T4JF


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 in which the gangs would reduce homicides in exchange for improved prison conditions, benefits

 and money. (Id. ¶ 23.) When this “truce” terminated in 2015, the Ranfla Nacional allegedly

 blamed the United States for pressuring the government of El Salvador and, as a result, directed

 an increase of violence and murders in the United States. (Id. ¶¶ 23, 47.) The Henriquez

 Indictment also alleged, with little elaboration, that, after this “truce” ended in 2015, the “Ranfla

 Nacional continued to negotiate with political parties in El Salvador and to use its control of the

 level of violence to influence the actions of the government in El Salvador,” and that the Ranfla

 Nacional’s goals included “supporting specific political parties in Salvadoran elections with the

 purpose of obtaining benefits in return when members of such parties took office.” (Id. ¶¶ 26, 46.)

 B. Events Following the Henriquez Indictment

        After the Henriquez Indictment was unsealed in January 2021, the case remained idle for

 almost three years as none of the defendants were in United States custody.

        On April 22, 2022, the Government updated the Court on its efforts to extradite twelve of

 the defendants—including Canales-Rivera—who were in the custody of El Salvador. (20-cr-577,

 ECF No. 18.) Citing “numerous media outlets in El Salvador,” including El Faro, the Government

 informed the Court that, despite pending extradition requests from the United States and the

 lodging of INTERPOL Red Notices against these defendants, the government of El Salvador had

 released four of the indicted defendants from custody, including Canales-Rivera. (Id. at 2.)

        In March 2022—a month before the Government’s April 22, 2022 status letter—MS-13

 began a three-day massacre in El Salvador, indiscriminately killing eighty-seven people. (Apr. 18

 New Yorker Article.) In response to these killings, Salvadoran President Nayib Bukele “declared

 a state of exception, which is still in effect, suspending many of the country’s due process rights




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 and commencing a wave of mass arrests.”7 (Id.) Since the declaration of the state of exception,

 El Salvador’s murder rate—which was previously the highest in the world—has plummeted and

 El Salvador is reportedly now “safer than Canada.” (El Salvador Offers to Take U.S. Deportees of

 Any Nationality Including Imprisoned Americans, THE WALL STREET JOURNAL (Feb. 4, 2025)

 (“Feb. 4 WSJ Article”).8)

 C. The Arevalo-Chavez Indictment

         In September 2022, the Government obtained an indictment against Arevalo-Chavez and

 12 other defendants, all alleged to be high-level leaders of MS-13. (Arevalo-Chavez Indictment.)

 This indictment was unsealed in February 2023.

         Four of these defendants, including Jose Wilfredo Ayala-Alcantara, are alleged to be part

 of the Ranfla Nacional. (Id. ¶ 13.) The other defendants—including Arevalo-Chavez, Roman-

 Bardales, Jorge Alexander De La Cruz, Walter Yovani Hernandez-Rivera, and Marlon Antonio

 Menjivar-Portillo—are allegedly part of high levels of MS-13’s leadership below the Ranlfa

 Nacional. (Id. ¶¶ 12, 13.) The Arevalo-Chavez Indictment charges all the defendants with

 conspiring to provide material support to terrorists and conspiring to commit Racketeering, Narco-

 Terrorism, and Alien Smuggling.

         The Arevalo-Chavez Indictment also expands on the allegations in Henriquez concerning

 MS-13’s negotiations with the Salvadoran government. The indictment alleges that the Ranfla

 Nacional negotiated with both the FMLN and its rival political party, including arrangements with

 “political candidates in exchange for benefits for MS-13 and the Ranfla Nacional themselves.”



 7
   President Bukele was first elected as El Salvador’s president in 2019. Before his election as president, he was the
 mayor of San Salvador. He belonged to the FMLN party, but split from it in 2017 and created a new party, Nuevas
 Ideas. In 2024, he was re-elected as President.
 8
   Available at https://www.wsj.com/world/americas/el-salvador-offers-to-take-u-s-deportees-of-any-nationality-
 including-imprisoned-americans-37e8f643?reflink=desktopwebshare_permalink


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 (Id. ¶ 31.) Arevalo-Chavez, Ayala-Alcantara, and De La Cruz allegedly “participated in the

 negotiations, including meeting with government officials, politicians, and non-governmental

 organizations inside and outside prison.” (Id.)

        Although the “truce” between MS-13 and the Salvadoran government ended in 2015, the

 Arevalo-Chavez Indictment alleges that “the Ranfla Nacional continued to negotiate with the

 government and political parties in El Salvador as part of its efforts to maintain the power and

 influence of MS-13 and obtain benefits from the government of El Salvador, including without

 limitation negotiations in connection with the February 2019 El Salvador presidential election.”

 (Id. ¶ 35.) De La Cruz is alleged to have been heavily involved in these negotiations. (Id.)

        According to the indictment, following the February 2019 presidential election in El

 Salvador, MS-13 leaders—including defendants Canales-Rivera and Henriquez—“secretly met

 numerous times with representatives of the government of El Salvador inside Zacatecoluca

 and Izalco prisons and elsewhere.”       (Id. ¶ 33.)   Defendant De La Cruz allegedly helped

 “coordinate[]” these efforts. (Id. ¶ 35.) The indictment highlights the role of Salvadoran officials

 in arranging these meetings, including the “Director of Centro Penales (National Prisons) and the

 Director of Tejido Social Reconstruccion (Social Fabric Reconstruction).” (Id.)

        During these negotiations, the Ranfla Nacional allegedly negotiated for reduced prison

 sentences, “financial benefits, control of territory, [and] less restrictive prison conditions that

 would enable” the leaders of MS-13 to maintain control. (Id. ¶ 36.) According to the indictment,

 the “Ranfla Nacional [also] demanded that the government of El Salvador refuse to extradite MS-

 13 leaders, including the Ranfla Nacional, to the United States for prosecution.” (Id.)




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        In return, the leaders of MS-13 allegedly agreed to reduce the number of “public murders”

 in El Salvador to create a perception that the murder rate was decreasing, while at the same time

 continuing to authorize murders where the victims’ bodies were buried or hidden. (Id. ¶ 36.)

        The indictment also alleges that, as part of the negotiations, the MS-13 leaders “agreed to

 use MS-13’s political influence to direct MS-13 members, friends and relatives of members, and

 residents of neighborhoods under MS-13 control, to support Nuevas Ideas candidates in the 2021

 elections for El Salvador’s Legislative Assembly.” (Id. ¶ 36.) Subsequently, in the February 2021

 elections, the Nuevas Ideas party and its allies won a super-majority in the legislature. (Id. ¶ 38.)

        The Arevalo-Chavez Indictment also discusses the United States’ unsuccessful efforts to

 extradite the Henriquez defendants. According to the indictment, prior to the 2021 elections, the

 Attorney General for El Salvador had announced his support for the extradition of the Ranfla

 Nacional members to the United States. (Id. ¶ 37.) However, after the February 2021 election,

 the Attorney General was removed by the Nuevas Ideas-controlled Legislative Assembly. (Id. ¶

 38.) As mentioned earlier—and as recounted again in the Arevalo-Chavez Indictment—the

 government of El Salvador subsequently released Canales-Rivera from custody even though, at

 the time, there was a pending extradition request from the United States. (Id. ¶ 39.)

 D. Subsequent Events including the March 15, 2025 Flights to El Salvador and the
    Government’s Motion to Dismiss Lopez-Larios

        On February 22, 2023, Arevalo-Chavez, Hernandez-Rivera, and Menjivar-Portillo were

 apprehended in Mexico, expelled to the United States, and arrested at the airport in Houston,

 Texas. (ECF No. 16.) On February 23, 2023, the Government moved to unseal the Arevalo-

 Chavez Indictment to facilitate the defendants’ initial appearances in Texas, pending removal to

 the Eastern District of New York. (Id.) Later that day, the defendants appeared in open court

 before a magistrate judge in Texas. (United States v. Arevalo-Chavez, Case No. 4:23-mj-346 (S.D.



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 Tex.).) Because Arevalo-Chavez did not waive his right to an identity hearing, the magistrate

 judge scheduled, on the public docket, a hearing for February 28, 2023. (4:23-mj-346, ECF No.

 16.) The hearing was held and Arevalo-Chavez was ordered removed to the Eastern District of

 New York. (4:23-mj-346, Feb. 28, 2023 Minute Entry; Order, ECF No. 20.)

        Arevalo-Chavez was transferred to New York, and all three defendants were arraigned, in

 open court, in the Eastern District on March 15, 2023. (ECF No. 24.) Arevalo-Chavez would

 subsequently appear at seven publicly-noticed conferences between July 2023 and April 1, 2025.

        In November 2023, Canales-Rivera was apprehended in Mexico. (20-CR-577, ECF No.

 19.) In the Government’s letter seeking his continued detention, the Government provided further

 details about his release from Salvadoran custody, explaining that:

        The evidence at trial will establish that that CANALES-RIVERA was escorted
        from a prison by high-level Salvadoran government officials, housed in a luxury
        apartment and other locations, provided with a firearm, and then driven to the
        Guatemalan border, where arrangements were made with a human trafficker to
        illegally smuggle CANALES-RIVERA into Guatemala.

 (Id. at 1–2.) While the Government’s April 2022 status report had relied on news reports from

 Salvadoran news organizations such as El Faro, the Government’s November 2023 detention letter

 indicates the Government possesses evidence that confirms those press reports.

        As of January 1, 2025, eight defendants from these two indictments were in U.S. custody:

 Canales-Rivera, Jandres-Parada, and Lopez-Larios from the Henriquez Indictment; and Arevalo-

 Chavez, Ayala-Alcantara, De La Cruz, Hernandez-Rivera, and Menjivar-Portillo from the

 Arevalo-Chavez Indictment.

        In February 2025, Secretary of State Marco Rubio met with President Bukele. (Feb. 4 WSJ

 Article.) After the meeting, Secretary Rubio announced that President Bukele offered to “house,”




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 in Salvadoran prisons, “American criminals” and any “illegal immigrant in the United States who’s

 a dangerous criminal,” including members of MS-13 and Tren de Aragua (“TdA”). (Id.)

           The next day, El Salvador’s ambassador to the United States stated, during a televised

 interview, that President Bukele had told Secretary Rubio that he wants the MS-13 leaders in U.S.

 custody to be sent to El Salvador. (See Offering US His Torture Prisons, Bukele Wants MS-13

 Leaders Back, EL FARO (Feb. 6, 2025)9; El Salvador’s President Sees Opportunity in Trump’s

 Deportations, THE NEW YORK TIMES (Mar. 17, 2025) (“Mar. 17 N.Y. Times Article”)10; Why

 Bukele Opened His Infamous Prison to Trump, THE WASHINGTON POST (Mar. 20, 2025) (“Mar.

 20 Washington Post Article”)11; ‘El Greñas,’ the MS-13 Leader Who May Hold the Key to Bukele

 and Trump’s Prison Deal, EL PAÌS (Mar. 24, 2025) (“Mar. 24 El Paìs Article”).12)

           On March 11, 2025, in the Henriquez case, the Government filed a motion to dismiss the

 indictment against Lopez-Larios without prejudice.                  (20-CR-577, ECF No. 92.)               Citing

 “geopolitical and national security concerns of the United States, and the sovereign authority of

 the Executive Branch in international affairs,” the Government asserted that it sought dismissal of

 these charges so that “El Salvador can proceed first with its criminal charges against [Lopez-

 Larios] under Salvadoran law.” (Id. at 2.)

           The Government filed the motion under seal and requested that its motion “be kept under

 seal given significant operational concerns, including the safety of the officers transferring the




 9
   Available at https://elfaro.net/en/202502/el_salvador/27734/offering-us-his-torture-prisons-bukele-wants-ms-13-
 leaders-back; https://perma.cc/BP5C-BUHC
 10
      Available at https://www.nytimes.com/2025/03/17/world/americas/el-salvador-nayib-bukele-deportees.html
 11
      Available at https://www.washingtonpost.com/world/2025/03/20/bukele-salvador-trump-prison/
 12
   Available at https://english.elpais.com/international/2025-03-24/el-grenas-the-ms-13-leader-who-may-hold-the-
 key-to-bukele-and-trumps-prison-deal.html; https://perma.cc/8JSW-EYKB


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 defendant.” (Id. at 3.) The Government also asserted that “public disclosure of this motion before

 that date could cause harm to the government’s relationship with a foreign ally.” (Id.)

         The Court granted the motion to dismiss on March 11, 2025 and, pursuant to the

 Government’s request, kept the motion and the Court’s order under seal. On March 12, 2025, the

 Court ordered the Government to show cause why the motion should not be unsealed once the

 transfer of Lopez-Larios was complete. (20-CR-577, Mar. 12 Order.)

         On March 14, President Trump signed a Presidential Proclamation invoking the Alien

 Enemies Act (“AEA”), 50 U.S.C. § 21, and declaring members of TdA to be Alien Enemies. (See

 Invocation of the Alien Enemies Act Regarding the Invasion of the United States by Tren De

 Aragua, White House (Mar. 15, 2025)13; 90 Fed. Reg. 13033 (Mar. 14, 2025).)

         On Saturday March 15, 2025, shortly after the AEA Proclamation was made public, the

 Government sent, on three flights, hundreds of individuals to El Salvador, including Lopez-Larios,

 other Salvadorans alleged to be members of MS-13, and 238 Venezuelans alleged to be members

 of TdA. (See The Latin American Leader Helping Trump Deport Venezuelans, THE WALL STREET

 JOURNAL (Mar. 18, 2025.14) The removal of 137 Venezuelans pursuant to the AEA and others on

 these flights—as well as the Government’s continuing attempts to use the AEA—have been

 challenged in well-publicized and ongoing litigation that has gone up to the Supreme Court.15 See



 13
    Available at https://www.whitehouse.gov/presidential-actions/2025/03/invocation-of-the-alien-enemies-act-
 regarding-the-invasion-of-the-united-states-by-tren-de-aragua/; https://perma.cc/R74Z-5JZ8
 14
   Available at https://www.wsj.com/world/americas/the-latin-american-leader-helping-trump-deport-venezuelans-
 0e85f7a3?reflink=desktopwebshare_permalink
 15
    On March 15, Judge James E. Boasberg held an emergency hearing to address challenges to the attempted removals
 under the AEA. See J.G.G. v. Trump, No. 25-CV-766, 2025 WL 1119481, at *1 (D.D.C. Apr. 16, 2025). 137 of the
 Venezuelans were ultimately removed on March 15 pursuant to the AEA—in alleged defiance of orders
 from Judge Boasberg—and are now imprisoned in El Salvador. (See White House Official Says 137 Immigrants
 Deported Under Alien Enemies Act, WASHINGTON POST (Mar. 16, 2025), available at
 https://www.washingtonpost.com/immigration/2025/03/16/alien-enemies-act-venezuela-el-salvador-prison/.)



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 Trump v. J.G.G., 145 S.Ct. 1003 (Apr. 7, 2025); J.G.G. v. Trump, No. 25-CV-766, 2025 WL

 1119481 (D.D.C. Apr. 16, 2025); J.G.G. v. Trump, No. 25-CV-766, 2025 WL 1577811 (D.D.C.

 June 4, 2025); -
                see
                  --also
                     -- -A.A.R.P.
                          - - - - - -v.
                                     -- Trump,
                                         - - - - 145 S. Ct. 1364 (May 16, 2025).

           On the morning of March 16, President Bukele tweeted about the flights on the social media

 platform X, including posting a video that showed Lopez-Larios, who identified himself by name

 on camera. (Nayib Bukele, @nayibbukele, X (Mar. 16, 2025 8:13 AM).16) Secretary Rubio also

 tweeted on X about the flights that morning. (Marco Rubio, @SecRubio, X (Mar. 16, 2025 7:59

 AM.17) In their tweets, both Secretary Rubio and President Bukele publicly announced that the

 United States had sent 23 members of MS-13 to El Salvador, including, according to President

 Bukele, two “ringleaders,” one of whom was a member of MS-13’s “highest structure.” (Id.;

 Nayib Bukele, @nayibbukele, X (Mar. 16, 2025 8:13 AM).)

           Later on March 16, the Government filed a response to this Court’s March 12 Order to

 Show Cause in which the Government requested that the Court continue the sealing of the filings

 concerning Lopez-Larios until at least March 17, 2025 when the Government indicated it would

 provide a further status update. (20-CR-577, ECF No. 94.) The Government now asserted that

 the “operational concerns” that necessitated sealing “extended far beyond the defendant Cesar

 Lopez-Larios” as “[i]t is the government’s understanding that the operation involves not just the

 Department of Justice, but multiple components from the Department of Homeland Security and

 other agencies, numerous subjects, and that the operation is on-going and incomplete.” (Id.)

 According to the letter, “the government has been specifically directed by Department of Justice

 leadership to request that the Sealed Documents remain under seal until the operation is complete



 16
      Available at https://x.com/nayibbukele/status/1901245427216978290?lang=en
 17
      Available at https://x.com/SecRubio/status/1901241933302825470


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 or as otherwise directed because the disclosure of the details in those documents could compromise

 the operation and officer safety.” (Id.) Later that day, the Court unsealed the filings concerning

 the motion to dismiss.18 (20-CR-577, Mar. 16, 2025 Order.)

         A few days later, there were additional developments in the Arevalo-Chavez case. On

 March 18 and March 19, defendants De La Cruz and Menjivar-Portillo pled guilty to the first three

 counts in the indictment. (ECF Nos. 140, 141.)

         On March 19, defendant Roman-Bardales—who was arrested in Mexico two days earlier

 and immediately sent to U.S. custody—was arraigned on the Arevalo-Chavez Indictment. (ECF

 No. 142; Mar. 19 Press Release.) In conjunction with Roman-Bardales’s arrest, Attorney General

 Pam Bondi and the Department of Justice announced that he would be prosecuted “in a courtroom

 on Long Island where his transnational criminal organization has impacted so many communities”

 and that MS-13 members would face “swift American justice for their heinous crimes.” (Mar. 19

 Press Release.) This press release also recounted some of the criminal acts alleged in the

 indictment, including violent terrorist activities, public displays of violence to intimidate civilian

 populations, using violence to control territory, and manipulating the electoral process in El

 Salvador. (Id.)

         The March 15 flights to El Salvador were covered extensively in the press. A number of

 these articles published between March 16 and the end of the month discussed the two MS-13

 indictments before this Court, Lopez-Larios’s dismissal, and President Bukele’s requests for the

 alleged leaders of MS-13 in U.S. custody. (See Mar. 17 N.Y. Times Article; US Deports MS-13




 18
    The Government has not subsequently asserted that the Court’s March 16 unsealing order compromised any
 operational security or officer safety.



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 Leader to El Salvador with Alleged Members of Tren de Aragua, EL FARO (Mar. 17, 2025)19; Mar.

 20 Washington Post Article; ‘Historical Loss’: Alleged Gang Leader Evades US Justice with

 Deportation to El Salvador, CNN (March 24, 2025)20; Mar. 24 El Paìs Article.)

 E. The Government’s Motion to Dismiss Arevalo-Chavez

         On April 1, 2025, Arevalo-Chavez and two other defendants appeared in court for a status

 conference, at which they waived Speedy Trial time through September 3, 2025. (ECF No. 154.)

         Later that day, the Government filed the instant motion to dismiss, under seal, that seeks

 dismissal of the charges against Arevalo-Chavez without prejudice. (ECF No. 155.) This motion

 to dismiss—which is almost identical to the motion to dismiss Lopez-Larios—states that, based

 on “geopolitical and national security concerns of the United States, and the sovereign authority

 of the Executive Branch in international affairs,” the Government is seeking dismissal of the

 charges against Arevalo-Chavez “so that El Salvador can proceed first with its criminal charges

 against [him] under Salvadoran law.” (Id. at 1–2.) With respect to sealing, the Government stated

 that:

         [A]s directed by Department of Justice leadership, the government respectfully
         requests that this letter be kept under seal, given significant operational concerns,
         including the safety of the officers transferring the defendant and others. Further,
         public disclosure of this motion before the operation is complete could cause harm
         to the government’s relationship with a foreign ally.

 (Id. at 3.) The Government maintained that its sealing request was “narrowly tailored and

 appropriately balances the government’s compelling interests with the public’s qualified right to

 access this document.” (Id.) At the time, Arevalo-Chavez’s counsel consented to the sealing. (Id.)




 19
  Available at https://elfaro.net/en/202503/el salvador/27780/us-deports-ms-13-leader-to-el-salvador-with-alleged-
 members-of-tren-de-aragua.htm; https://perma.cc/8V3W-452T
 20
    Available at https://www.cnn.com/2025/03/24/politics/ms-13-leader-deported-el-salvador-boasberg-order;
 https://perma.cc/3YWQ-MUD7


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        Arevalo-Chavez was granted an extension of time until April 23, 2025 to respond to the

 motion to dismiss. (Apr. 11, 2025 Order.) While awaiting his response, on April 14, 2025, the

 Court directed both parties to show cause to why filings concerning the motion to dismiss should

 not be unsealed and available on the public docket and why any future proceedings concerning the

 motion should not be held in open court. (Apr. 14, 2025 Order.)

        The Government’s response to the Order to Show Cause reiterated, with little further

 elaboration, that the motion to dismiss should continue to be litigated under seal due to foreign

 policy concerns and because “premature disclosure of these filings potentially could have a

 dangerous and disruptive effect on operational security.” (ECF No. 165.) The Government

 contended that this request was narrowly tailored because it was “seeking the continued sealing

 only until the operation is complete, at which point all filed materials will be made public.” (Id.
                                                                                                 --

 at 2.) Arevalo-Chavez responded that there was “no compelling argument for maintaining these

 documents under seal.” (ECF No. 166.)

        The parties subsequently submitted additional filings under seal concerning the motion to

 dismiss. On April 23, 2025, Arevalo-Chavez filed his response to the motion to dismiss, which

 requested: (1) discovery and a hearing concerning the reasons for the dismissal and whether the

 Government’s request was made in bad faith; (2) dismissal of the indictment with prejudice; and

 (3) delayed entry of any order of dismissal so that Arevalo-Chavez—who is a Salvadoran citizen—

 can file a petition of habeas corpus to ensure that, prior to his removal, he has an opportunity to

 seek relief based on his fear that he will be tortured in El Salvador. (ECF No. 167.)

        In the Government’s April 30, 2025 reply letter, the Government discussed, for the first

 time, the specific charges that have been brought against Arevalo-Chavez in El Salvador. (ECF

 No. 170.) The Government’s April 30 letter also asserted that sealing was warranted because—in




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 addition to the bases for sealing previously asserted by the Government—the Government’s letter

 discussed “the details of charges pending against the defendant” in El Salvador, “which may not

 have been made public there.” (Id. at 4 (emphasis added).) The Government indicated that it had

 “requested copies of the Salvadoran charging instruments and arrest warrants, and will provide

 these to counsel and the court once received.” (Id. at 2 n.2.) The next day, the Court directed the

 Government to provide these documents once they had been received. (May 1, 2025 Order.)

         On May 14, 2025, the Government filed a response that included three exhibits–an

 INTERPOL Red Notice and two arrest warrants.21 (ECF No. 173.) The Government’s May 14

 letter disclosed, for the first time, that one of the Salvadoran arrest warrants for Arevalo-Chavez

 stemmed from two charges (Illicit Associations and Aggravated Homicide) for which Arevalo-

 Chavez had already been tried and sentenced, in absentia, to sentences of 14 years and 25 years,

 respectively. (Id.) The Government represented that the other outstanding arrest warrant was for

 an open charge of “Terrorist Organizations.” (Id.) The exhibits provided by the Government,

 however, were all in Spanish and a partial “draft translation” was provided for only one of the

 documents. (Id.) The next day, the Court directed the Government to provide complete certified

 translations of all documents that were in Spanish. (May 15, 2025 Order.) On May 20, 2025, the

 Government provided the Court with certified English-language translations of the exhibits.




 21
    In its May 14, 2025 letter, the Government indicated that it had attempted to obtain additional documents, such as
 the actual charging instruments that were referenced in the Government’s April 30 letter. (ECF No. 173.) However,
 the Government informed the Court that it was unable to provide those documents because the government of El
 Salvador was requiring that the United States submit “a formal request pursuant to the Mutual Legal Assistance Treaty
 (“MLAT”)” for the documents. (Id.) In the May 14 letter, the Government asserted that “this cumbersome and
 extremely lengthy procedure would take an exorbitant amount of time” and that these materials are not necessary for
 the Court to decide the motion to dismiss. (Id.)



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 F. Additional Press Reports During the Pendency of the Motion to Dismiss

         While the parties were briefing the Government’s motion to dismiss, and submitting the

 various filings under seal set out above, there was further press coverage concerning matters

 related to this case, including the dismissal of Lopez-Larios’s charges, El Salvador’s requests for

 the MS-13 leaders in U.S. custody, and El Salvador’s earlier decisions to release defendants from

 custody who the U.S. had sought to extradite. (See, e.g., Does Bukele Have a Pact With MS-13?,

 THE WALL STREET JOURNAL (May 12, 2025)22; Apr. 18 New Yorker Article.)

         One article described, in detail, purported negotiations between the U.S. Government and

 El Salvador concerning the March 15 flights and El Salvador’s imprisonment of the Venezuelans

 alleged to be members of TdA. (Trump Admin Proposed Sending Up to 500 Alleged Venezuelan

 Gang Members During Negotiations to Use El Salvador’s Mega-Prison, CNN (Apr. 28, 2025)

 (“Apr. 28 CNN Article”).23) Emails were reportedly exchanged between President Bukele’s

 brother and Michael Needham—the counselor and chief of staff to Secretary Rubio—in the days

 leading up to the March 15 flights. (Id.) According to this article, one e-mail stated that El

 Salvador had requested nine specific MS-13 members and that, “[u]pon all nine being returned,

 (El Salvador) will provide (US government) a 50% discount for Year 2, if necessary, of the original

 TdAs.” (Id.) At the time these emails were allegedly sent, eight defendants named in the two

 indictments before this Court were in U.S. custody and, as explained earlier, a ninth defendant,

 Roman-Bardales, was subsequently apprehended days later, on March 17, 2025.




 22
    Available at https://www.wsj.com/opinion/does-bukele-have-a-pact-with-ms-13-two-american-indictments-
 allege-cooperation-e771f151?reflink=desktopwebshare permalink
 23
    Available at https://www.cnn.com/2025/04/28/politics/trump-el-savador-prison-negotiations;
 https://perma.cc/M6UD-7FTW



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           Additionally, on April 30, 2025, the New York Times reported that although El Salvador

 had not yet received “everyone [President Bukele] sought, . . . U.S. officials say they still intend

 to send additional gang leaders he has requested.” (Trump’s Deal to Deport Venezuelans to El

 Salvador’s Most Feared Prison, THE NEW YORK TIMES (Apr. 30, 2025) (“Apr. 30 N.Y. Times

 Article”).24)

 G. The Court’s Unsealing Order

           On May 22, 2025, the Court unsealed many of the filings concerning the April 1, 2025

 motion to dismiss. That same day, the Court also issued, under seal, an order to show cause that

 directed the Government to explain why certain other filings—which referenced the specific

 charges against Arevalo-Chavez—should not also be unsealed.

           On May 29, 2025, the Government responded, informing the Court that the arrest warrants

 and charges listed in its April 30 letter were, in fact, not under seal in El Salvador. (ECF No. 178.)

 The attorneys for the Government stated that although they had sought clarity from the U.S.

 Embassy in San Salvador and the FBI about the status of these documents, they did not receive a

 definitive answer for almost a month.25 (Id. at 1 n.1) In its May 29 response, the Government

 stated it had no objection to unsealing the letters filed at ECF Nos. 170, 173, 174, and 175, but

 submitted redacted versions of certain exhibits.26




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      Available at https://www.nytimes.com/2025/04/30/us/politics/trump-deportations-venezuela-el-salvador.html
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     While the Government’s filings have demanded rapid action by the Court on the motion to dismiss, (ECF No. 178),
 it is notable that it took the Government almost a month to determine whether these warrants and charges were public.
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    In light of the above, the Clerk of Court is directed to unseal the letters filed at ECF Nos. 170, 173, 174, and 175.
 The Clerk of the Court, however, shall not unseal the exhibits attached to ECF Nos. 173 and 175. The Government
 has provided redacted copies of the arrest warrants that redact certain personally identifiable information.
 Additionally, the Government has provided the publicly available extract of the INTERPOL Red Notice, which differs
 from the version of the Red Notice originally provided by the Government. The Clerk of Court shall also unseal the
 Court’s May 22, 2025 Order to Show Cause, ECF No. 177.


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           After the Court’s May 22 unsealing order, there has been additional press coverage of these

 matters, including reporting concerning El Salvador’s refusals to extradite the MS-13 leaders in

 its custody and the dismissal of Lopez-Larios.                 (“Delay, Interfere, Undermine:” How El

 Salvador’s Government Impeded a U.S. Probe of MS-13, PROPUBLICA (June 12, 2025)27; The

 Gang-Linked Prison Chief Taking Custody of Trump’s Deportees, THE WALL STREET JOURNAL

 (May 22, 2025)28; Trump Vowed to Dismantle MS-13. His Deal With Bukele Threatens That Effort,

 THE NEW YORK TIMES (JUNE 30, 2025)29; Trump DOJ Drops Cases Against Top MS-13 Leaders,

 NATIONAL REVIEW (July 5, 2025)30; Federal Prosecutors on LI Have Moved to Drop Criminal

 Charges Against 2 High-Ranking MS-13 Leaders, NEWSDAY (July 7, 2025).31)

                                               II. DISCUSSION

 A. Standards Governing the Public’s Rights of Access

           The public’s right to access court proceedings and court records is protected under the both

 the First Amendment and the common law. Gannett Media Corp. v. United States, No. 22-2160,

 2022 WL 17818626, at *2 (2d Cir. Dec. 20, 2022). Access to criminal proceedings “serves to

 allow public scrutiny of the conduct of courts and prosecutors,” United States v. Haller, 87 F.2d

 84, 86–87 (2d Cir. 1988), “informs the populace of the workings of government,” and “fosters

 more robust democratic debate,” United States v. Doe, 63 F.3d 121, 126 (2d Cir. 1995).




 27
    Available at https://www.propublica.org/article/bukele-trump-el-salvador-ms13-gang-vulcan-corruption-
 investigation; https://perma.cc/VF4D-XYNH
 28
    Available at https://www.wsj.com/opinion/does-bukele-have-a-pact-with-ms-13-two-american-indictments-
 allege-cooperation-e771f151?reflink=desktopwebshare permalink
 29
      Available at https://www.nytimes.com/2025/06/30/us/politics/trump-bukele-ms-13-immigrants.html
 30
      Available at https://www.nationalreview.com/2025/07/trump-doj-drops-cases-against-top-ms-13-leaders/
 31
    Available at https://www.newsday.com/long-island/crime/ms-13-gang-members-tosses-indictment-trump-bukele-
 ff40w509?utm_medium=web_share_api&utm_campaign=web_share_api


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        “Judicial documents are subject at common law to a potent and fundamental presumptive

 right of public access.” Mirlis v. Greer, 952 F.3d 51, 58 (2d Cir. 2020). Public access to judicial

 documents is also protected by a “qualified First Amendment right,” Hartford Courant Co. v.

 Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004), which is understood to be “stronger than its common

 law ancestor and counterpart,” United States v. Erie County, 763 F.3d 235, 239 (2d Cir. 2014).

        The Second Circuit has identified two different approaches for determining whether First

 Amendment protection attaches to a judicial document. As the Second Circuit has explained:

        The so-called “experience and logic” approach requires the court to consider both
        whether the documents have historically been open to the press and general public
        and whether public access plays a significant positive role in the functioning of the
        particular process in question. The courts that have undertaken this type of inquiry
        have generally invoked the common law right of access to judicial documents in
        support of finding a history of openness.

 Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006) (cleaned up).

        Once a First Amendment right of access is found to apply to a particular document, the

 document may only be sealed if the Court finds that “closure is essential to preserve higher values

 and is narrowly tailored to serve that interest.” Id. (cleaned up). In making this determination,

 courts look to a four-prong test set out by the Second Circuit to address these competing interests:

        First, the district court must determine, in specific findings made on the record, if
        there is a substantial probability of prejudice to a compelling interest of the
        defendant, government, or third party, which closure would prevent. Compelling
        interests may include . . . “the integrity of significant [government] activities
        entitled to confidentiality, such as ongoing undercover investigations or detection
        devices,” and danger to persons or property. Second, if a substantial probability of
        prejudice is found, the district court must consider whether reasonable alternatives
        to closure cannot adequately protect the compelling interest that would be
        prejudiced by public access. Third, if such alternatives are found wanting, the
        district court should determine whether, under the circumstances of the case, the
        prejudice to the compelling interest override[s] the qualified First Amendment right
        of access. Fourth, if the court finds that closure is warranted, it should devise a
        closure order that, while not necessarily the least restrictive means available to
        protect the endangered interest, is narrowly tailored to that purpose.




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 Doe, 63 F.3d at 128 (cleaned up); see United States v. Zazi, No. 09-CR-663, 2010 WL 2710605,

 at *3 (E.D.N.Y. June 30, 2010) (applying this test in deciding to unseal plea agreements).

        In analyzing the common law right of access, courts must first determine how much weight

 to give to this presumption of access. United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995).

 The weight accorded to this presumption depends on the “role of the material at issue in the

 exercise of Article III judicial power and the resultant value of such information to those

 monitoring the federal courts.” Id. at 1049. In determining this weight, courts also consider

 whether the case and filings at issue involve matters of public interest and concern. See Lugosch,

 435 F.3d at 123 n.5. There is also, generally, “a strong public interest in the manner in which

 criminal cases are conducted.” Gannett Media, 2022 WL 17818626, at *3; -
                                                                        see
                                                                          --also
                                                                             -- -Lugosch,
                                                                                  - - - - - 435

 F.3d at 123 n.5.

        “[A]fter determining the weight of the [common-law] presumption of access, the court

 must balance competing considerations against it,”—those “countervailing factors include but are

 not limited to ‘the danger of impairing law enforcement or judicial efficiency’ and ‘the privacy

 interests of those resisting disclosure.’” Lugosch, 435 F.3d at 120 (cleaned up); see Mirlis, 952

 F.3d at 61, 63 (sealing video deposition testimony concerning sexual abuse introduced at civil trial

 and contrasting situation to other cases involving crimes of “national importance,” such as the

 ABSCAM criminal prosecutions, where unsealing was warranted); cf. Bradley on behalf of AJW

 v. Ackal, 954 F.3d 216, 232 (5th Cir. 2020) (explaining that, in determining whether to unseal

 settlement agreement, courts must consider whether agreement involves “public officials or parties

 of a public nature and matters of legitimate public concern” and citing multiple press reports in

 concluding that the case involved matters of “local and national concern”).




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 B. First Amendment and Common Law Rights of Access Attach to the Motion to Dismiss

        Here, the Government did not contest that its motion to dismiss and the subsequent related

 filings are judicial documents for which the public has a qualified First Amendment right of access,

 but nevertheless asserted that sealing was appropriate under the standard that governs such

 documents. (See ECF Nos. 155, 165.)

        Even absent this concession by the Government, the Court would still conclude, for the

 reasons set forth below, that the Government’s motion to dismiss and the parties’ subsequent

 filings concerning that motion are all judicial documents covered by both the qualified First

 Amendment right of access and the common law presumption of access.

        “[C]riminal courts are presumptively open to the public.” Hartford Courant Co., LLC v.

 Carroll, 986 F.3d 211, 219 (2d Cir. 2021). The Supreme Court has “recognized that the First

 Amendment grants both the public and the press a qualified right of access to criminal trials, to the

 examination of jurors during voir dire, and to preliminary hearings.” Hartford Courant, 380 F.3d

 at 91 (cleaned up). “Numerous federal and state courts have also extended the First Amendment

 protection . . . to particular types of judicial documents, determining that the First Amendment

 itself, as well as the common law, secures the public’s capacity to inspect such records.” Id. at

 91–92. Rights of access have been found to attach to various aspects of criminal cases, including

 plea proceedings and plea agreements, as well as pretrial motions, motions at trial and post-trial

 motions. See United States v. Alcantara, 396 F.3d 189, 196 (2d Cir. 2005); United States v.

 Gerena, 869 F.2d 82, 85 (2d Cir. 1989). The qualified First Amendment right of access has also

 been found applicable to records of criminal cases in state court that have ended in dismissal or

 nolle prosequi, which have parallels to motions to dismiss under Federal Rule of Criminal

 Procedure 48.    See Globe Newspaper Co. v. Pokaski, 868 F.2d 497, 510 (1st Cir. 1989).




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        Similarly, the Court finds here that motions to dismiss pursuant to Rule 48 are also judicial

 documents protected by both the qualified First Amendment right of access and the common law

 presumption of access. The sealing of a motion to dismiss under Rule 48 defeats a central purpose

 of the rule, which “contemplates public exposure of the reasons for the abandonment of an

 indictment, information or complaint in order to prevent abuse of the uncontrolled power of

 dismissal previously enjoyed by prosecutors.” United States v. Adams, No. 24-CR-556, 2025 WL

 978572, at *15 (S.D.N.Y. Apr. 2, 2025) (quoting United States v. Greater Blouse, Skirt &

 Neckwear Contractors Ass’n, 228 F. Supp. 483, 486 (S.D.N.Y. 1964)).

 C. Continued Sealing Was Not Warranted Here

        Having found that both constitutional and common law rights of access apply here, the

 Court turns to whether sealing of this particular Rule 48 motion was: (1) essential to preserve

 higher values and is narrowly tailored to serve that interest; and (2) whether balancing the common

 law presumption of access against countervailing factors warrants sealing.

        At the outset, it must be stressed that these two criminal cases are of national importance

 and the Government’s motion to dismiss implicates matters of significant public interest that are

 apparent from the facts of this case set out at length above, including:

        (1) the indictments’ serious charges alleging that the defendants’ crimes have had grave
        consequences in the United States—charges the Government maintains are supported by
        “strong” evidence;

        (2) the Government’s contradictory statements about prosecuting leaders of MS-13 in
        U.S. courts;

        (3) the Government’s decision to seek dismissal of the charges against the defendant in
        order to send him to El Salvador, which the Government has asserted previously freed
        alleged members of the Ranfla Nacional despite extradition requests by the United States;

        (4) the indictments’ allegations of extraordinary and corrupt arrangements between MS-13
        and the Salvadoran government; and




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        (5) the apparent link between El Salvador’s request for the MS-13 leaders in U.S. custody
        and the Venezuelans who were sent to El Salvador on March 15 pursuant to the AEA and
        are involved in ongoing litigation over their removal and continued imprisonment.

 Additionally, Arevalo-Chavez’s responses to the motion to dismiss also allege that he is likely to

 be tortured if sent to El Salvador.

        The matters of public concern identified above give substantial added weight to the

 common law presumption of public access. And, as explained below, the Government’s proffered

 grounds for sealing were, ultimately, insufficient to keep those filings from the public.

        The Government’s primary justification for continued sealing was that “premature

 disclosure of these filings potentially could have a dangerous and disruptive effect on operational

 security.” (ECF No. 165.) According to the Government, “significant operational concerns,

 including the safety of the officers transferring the defendant,” warranted “continued sealing until

 the operation is complete,” at “which point all filed materials will be made public.” (Id.)
                                                                                        --

        The Court takes seriously concerns about operational security and the safety of all

 individuals involved in the transfer of a criminal defendant who is alleged to be a high-ranking

 member of MS-13. However, these concerns are, given all the circumstances here, insufficient to

 override the qualified First Amendment right of access or to prevail under the balancing test that

 applies to the common law right. The U.S. Government—including the United States Marshals

 Service and the Bureau of Prisons—has the resources and experience to handle and transport high-

 profile detainees who themselves present a danger or who may be a target for others. The Court

 is cognizant of the fact that every transfer of such a detainee involves some risk to the officers

 involved. However, the proffered concerns about operational security are insufficient in this

 case—which involves matters of significant public interest—to overcome the public’s First

 Amendments or common law right of access.




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         Certain aspects of this case that weighed in favor of unsealing also merit brief discussion.

         First, given El Salvador’s public demands for the MS-13 leaders in U.S. custody and

 Lopez-Larios’s earlier dismissal, it is difficult to see how the continued sealing of this motion to

 dismiss was necessary. Before the motion to dismiss was filed on April 1: (1) El Salvador’s

 ambassador had publicly announced that President Bukele had requested that the leaders of

 MS-13 in U.S. custody be deported to El Salvador; (2) multiple media reports had been published

 about this request; (3) the Court had already granted and unsealed the motion to dismiss the charges

 against Lopez-Larios, which was the subject of multiple press reports; and (4) President Bukele

 had tweeted about Lopez-Larios’ removal to El Salvador. Additionally, after the motion to dismiss

 was filed on April 1, it was reported that although El Salvador had not yet received “everyone

 [President Bukele] sought, . . . U.S. officials say they still intend to send additional gang leaders

 he has requested.” (Apr. 30 N.Y. Times Article.) Another press report—which quoted an email

 memorializing El Salvador’s request for nine MS-13 leaders—was further evidence that El

 Salvador was seeking the defendants from these two cases who were in custody, including

 Arevalo-Chavez. (Apr. 28 CNN Article.) Thus, the proverbial cat was largely already out of the

 bag by the time the Court unsealed the documents on May 22.

         Second, the Government’s proffered concerns about operational security and safety were

 largely conclusory. The Government elected not to expand on the particulars of these concerns in

 a sealed filing or ex parte letter.

         Third, all the Government’s sealed filings in connection with the motion to dismiss have

 been served contemporaneously on Arevalo-Chavez’s counsel, who have discussed the motion to




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 dismiss with him. The fact that Arevalo-Chavez was well aware of the motion as of May 22

 undercuts the Government’s rationale for continued sealing.32

             Fourth, Arevalo-Chavez previously appeared at numerous publicly-noticed court

 conferences, and was safely transported from Texas to New York following a publicly-noticed

 hearing in Texas. These points further undermine the Government’s argument that sealing of the

 motion to dismiss was necessary for operational security and officer safety. Notably, Arevalo-

 Chavez and two other defendants appeared at a publicly-noticed status conference on April 1,

 2025, only hours before the motion to dismiss was filed. This appearance occurred after El

 Salvador had publicly requested the MS-13 leaders in U.S. custody and after Lopez-Larios’

 dismissal had already been unsealed.

            Additionally, the Government’s actions in connection with the motion to dismiss Lopez-

 Larios and the March 15 flights to El Salvador gave the Court ample reason to question whether

 the Government’s conclusory claims about operational and security concerns truly necessitated

 sealing in either this case or in Lopez-Larios’ case. It should not be surprising that those events

 would make this Court skeptical of the Government’s conclusory claims in this case concerning a

 purported need for continued sealing.33

            The Government also asserted, in conclusory fashion, that “public disclosure of this motion

 before the operation is complete could cause harm to the government’s relationship with a foreign

 ally.” (ECF No. 165.) The Government, however, did not provide a declaration or any further

 details, to explain or buttress its claim that disclosure of the motion to dismiss was likely to harm



 32
   The Court also notes that, in response to the order to show cause, Arevalo-Chavez did not ask for continued sealing.
 While that is certainly not dispositive, it indicates that he at least believes that public notice of the motion to dismiss
 would not threaten his own safety.
 33
      With the benefit of hindsight, the Court must admit that it erred in sealing the filings concerning Lopez-Larios.



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 the relationship with El Salvador. The Government’s showing on this ground was simply

 insufficient to justify sealing.

          Most importantly, the Government’s argument about foreign policy concerns was

 undermined by the fact that the Government itself conceded that the motion should be unsealed

 after the defendant was transferred to Salvadoran custody. The Court cannot fathom, and the

 Government did not even attempt to explain, why unsealing these documents prior to the

 defendant’s transfer risked harming the relationship with El Salvador when, even under the

 Government’s own proposed approach, these filings would have been made public immediately

 after the operation was complete.34

          The Government’s foreign policy argument was further undermined by the fact that El

 Salvador had already publicly requested that the leaders of MS-13 in U.S. custody be sent to El

 Salvador (and had also received Lopez-Larios). In light of that well-publicized request and

 transfer, it is difficult to see how public disclosure of the Government’s motion to dismiss, prior

 to the Court’s ruling on the motion, was likely to cause harm to the relationship with El Salvador.

          Finally, the Government also contended that continued sealing was warranted because the

 details of the charges pending against the defendant in El Salvador “may not have been made

 public there” and sealing could “protect the integrity of the foreign prosecutions.” (ECF No. 170



 34
    The only case the Government cites in support of this rationale for sealing is distinguishable. In United States v.
 Trabelsi, No. CR 06-89, 2015 WL 5175882, at *8 (D.D.C. Sept. 3, 2015), the defendant had sought production of
 “inter-governmental correspondence” between Belgium and the United States concerning the defendant’s extradition,
 which the defendant intended to use to support his motion to dismiss the indictment. Both Belgium and the United
 States objected to public disclosure of these confidential documents and the Government represented that disclosure
 would have a detrimental impact on the United States’ relationship with Belgium and the United States’ cooperative
 extradition relationships with other countries. Id. The court—which stressed that the “discovery process is not
 normally” public—ordered that any production would be under seal and subject to a protective order, and directed
 that any subsequent filings that referenced those documents would have to be filed under seal. Id. at 8–9.

    Trabelsi is distinguishable on multiple grounds. Unlike the present case, where the Government conceded that
 the motion to dismiss should be unsealed in the near future, the Government sought permanent sealing in Trabelsi.



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 at 4 (emphasis added); see ECF No. 165 at 2.) This argument certainly did not justify continued

 sealing of all the filings concerning the motion to dismiss. Moreover, in its May 29 response to

 the Court’s Order to Show Cause, the Government conceded that the charges and arrest warrants

 at issue are, in fact, publicly available. Accordingly, this proffered rationale was not a viable

 justification for continued sealing of any of the filings.

          The Court also notes that while the Government initially asserted that unsealing could

 potentially jeopardize the integrity of prosecutions in El Salvador, the Government’s later

 submissions disclosed that, for two of the charges, the defendant has already been tried, and

 sentenced, in absentia. The Government never explained how unsealing would have compromised

 those already completed prosecutions35 or the open charge against Arevalo-Chavez in El Salvador.

                                               III. CONCLUSION

          Based on all the reasons set forth above, the Court unsealed many of the filings concerning

 the motion to dismiss on May 22 and unseals, with limited exceptions set out below, the remainder

 of those filings today. The Clerk of Court shall unseal the letters filed as ECF Nos. 170, 173, 174,

 and 175, as well as the Court’s May 22, 2025 Order, ECF No. 177. The Clerk of the Court,

 however, shall not unseal the exhibits attached to ECF Nos. 173 and 175.

          A status conference in this case has been scheduled for July 23, 2025 at 11:00 AM.

 SO ORDERED.

 Dated: July 16, 2025
 Central Islip, New York
                                                                         /s/ (JMA)
                                                                 JOAN M. AZRACK
                                                                 UNITED STATES DISTRICT JUDGE


 35
    The record does not indicate whether, as of April 1 (when the motion to dismiss was filed) or April 30 (when the
 Government filed its reply papers), the Government was even aware that Arevalo-Chavez had already been tried and
 sentenced, in absentia, on these two charges. Certainly, neither of those filings informed the Court that the defendant
 had been tried and convicted in absentia on these charges.


                                                          29
